Case 3:17-cv-00072-NKM-JCH Document 688 Filed 03/25/20 Page 1 of 4 Pageid#: 9814




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,

                                 Plaintiffs,
    v.                                               Civil Action No. 3:17-cv-00072-NKM


    JASON KESSLER, et al.,

                                 Defendants.




         PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION FOR RECUSAL


         Plaintiffs take no position on Defendants’ March 23, 2020 motion for recusal.




         Dated: March 25, 2020                       Respectfully submitted,

                                                     /s/
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Case 3:17-cv-00072-NKM-JCH Document 688 Filed 03/25/20 Page 2 of 4 Pageid#: 9815




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                                             2
Case 3:17-cv-00072-NKM-JCH Document 688 Filed 03/25/20 Page 3 of 4 Pageid#: 9816




                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 25, 2020, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

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                                                  1
Case 3:17-cv-00072-NKM-JCH Document 688 Filed 03/25/20 Page 4 of 4 Pageid#: 9817




          I further hereby certify that on March 25, 2020, I also served the following non-ECF
  participants, via electronic mail, as follows:

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